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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                          §
                                                  §
                                                  §
V.                                                           CAUSE NO. 1:21-CR-327-RC-1
                                                  §
                                                  §
LUKE RUSSELL COFFEE                               §

              OPPOSED MOTION TO MODIFY PRETRIAL CONDITIONS
                               OF RELEASE
       TO THE HONORABLE RUDOLPH CONTRERAS, DISTRICT JUDGE OF THE

UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA:

       COMES NOW Defendant, Luke Russell Coffee, by and through his attorney of record,

Anthony J. Colton, hereby files this Opposed Motion to Modify Pretrial Conditions, and would

show this Honorable Court as follows.

       On April 13, 2021, an Amended Order was entered setting the conditions of Mr. Coffee’s

release. Among those conditions, Mr. Coffee has been required to wear a GPS monitor and remain

in home confinement except for certain preapproved exceptions. Based on information from Pretrial

Officer Masharia Holman, Mr. Coffee has been in compliance with the Court’s conditions of release

for the past four (4) months since his release. Further, Ms. Holman expressed that pretrial has no

opposition to Mr. Coffee’s request to remove the GPS monitor and home detention requirements.

       WHEREFORE, PREMISES CONSIDERED, Defendant prays that this Honorable Court

enter an Order granting this Motion to Modify Pretrial Conditions of Release.
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                                               Respectfully submitted.

                                               MAUREEN SCOTT FRANCO
                                               Federal Public Defender


                                               /s/ ANTHONY J. COLTON
                                               Supervisory Assistant Federal Public Defender
                                               Western District of Texas
                                               200 East Wall St., Room 110
                                               Midland, Texas 79701
                                               Tel.: (830) 308-6040
                                               Attorney for Defendant




                             CERTIFICATE OF CONFERENCE
       I certify that I conferred with Peter Lallas, Assistant United States Attorney, concerning
this motion and he is opposed to the filing and granting of the same.

                                                             /s/ ANTHONY J. COLTON




                                CERTIFICATE OF SERVICE
        I hereby certify that on the 17th day of August 2021, I electronically filed the foregoing
 Motion to Modify Pretrial Conditions of Release with the Clerk of Court using the CM/ECF
 system which will send notification of such filing to the following:


 Peter Lallas
 Assistant United States Attorney


                                                /s/ ANTHONY J. COLTON
                                                Attorney for Defendant
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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                         §
                                                 §
                                                 §
V.                                                          CAUSE NO. 21-CR-327
                                                 §
                                                 §
LUKE RUSSELL COFFEE                              §


                                            ORDER
       On this date came on to be considered the Defendant’s Motion to Modify Pretrial Conditions

of Release. The Court, having considered the premises, is of the opinion that the same should be

and is hereby GRANTED.

       SO ORDERED on this the              day of August 2021.




                                            HONORABLE RUDOLPH CONTRERAS
                                            United States District Judge
